                 Case 2:13-cv-00193 Document 775-43 Filed on 11/19/14 in TXSD Page 1 of 2
From                                Peters Joe
To                                  McCraw Steven Bodisch           Robert   Nolte    Candace

Sent                                752013 53038 PM
Subject                             Fwd 05 July EIC Report




FYI


Joe Peters

Assistant Director

Driver License Division

Texas Department            of Public Safety

5805      N Lamar
Austin     TX 78773
5124245899


Begin forwarded message


From Rodriguez Tony <TonyRodriguez    dpstexasgov>           ar



Date July 5 2013 52111 PM CDT
To Peters Joe <JoePetersndpstexasgov>
Cc Watkins           Paul <PaulWatkinsdpstexasgov>                      Bell Stephen <StephenBelldpstexas gov> Winkley
Salestus     <SalestusWinkle              dpstexasgov>
                                          as
                                                                  Berkley Johnnie <JohnnieBerkle dpstexasgov> Silva
Samuel      <SamuelSilva2dpstexas gov> Valenzuela Estella <Estella Valenzueladpstexasgov>                                                       Valdez
Tomas <TomasValdez2dpstexas gov> Hubbard                                Barbara <BarbaraHubbard2dpstexasgov>                                   Garcia Joseph
<JosephGarcia2dpstexasgov>                         Smith Janie <JanieSmith dpstexasgov>                    Melcher Lori
<LoriMelcher•dpstexasgov>                          Gomez Enrique       <EnriqueGomez•dpstexasgov>               Mastracchio                     JoeAnna
<JoeAnnaMastracchiodLis                    texas gov>    Ron Grahovec        <rgrahovecc2morphotrustcom>           Crawford John
<JohnCrawford2dpstexasgov>                          Vinger   Tom <TomVingerdpstexasgov>                    Cesinger Katherine
<KatherineCesinger2dpstexas gov> Hunter                             Stephanie      <StephanieHunter     adpstexasgov>     Wells Charles
<CharlesWellsdpstexas ovv> Barber David                               <DavidBarberdpstexasgov> Muniz Barbara
<BarbaraMunizdpstexasgov> Segundo                                 Carolina   <CarolinaSegundo        adpstexasgov>

SubjectRe 05 July EIC Report

This just in    we have issued one Election ID Certificate                   in the   Dallas East office




Tony Rodriguez
Senior Manager

Office     5124245657
Cell      5127399709


On Jul 5 2013         at   1613 Rodriguez Tony <TonyRodri                       uezcdpstexas        ov> wrote


            A slow day today one inquiry in our Littlefield               office   Region       5 The customer decided he wanted an                      ID   card

           instead    and   left   to   get the documentation       required for that

            Zero issuances



                                                                     05 July EIC Report
                                                                                                            2:13-cv-193
                                                                                                                          exhibitsticker.com




                 Issuance                      0
    1A                                                                                                      09/02/2014
                     Inquiry                   0



    113
                 Issuance                      0
                                                                                                            DEF1480
                     Inquiry                   0


F   2A           Issuance                      0




                                                                                                                                                          TEX0507874
                   Case 2:13-cv-00193 Document 775-43 Filed on 11/19/14 in TXSD Page 2 of 2
                     Inquiry                  0


                    Issuance                  0
     2B
                     Inquiry                  0

                    Issuance                  0
     3
                     Inquiry                  0


                    Issuance                  0
     4
                     Inquiry                  0


                    Issuance                  0

                                                  The   Littlefield        DL office     519 did have an               inquiry      regarding the        EIC Certificate          this


                                                  afternoon           An older gentleman            inquired    about        the free ID        Card    for   his   wife      He was

                                                  asked    if   his   wife   had ever        had a TX ID or DL d he said no The                         CSR         gave him the
                                                  information         needed       to   issue the    EIC CSR told            him that the card           was    only    good      for


                                                  voting   purposes          only    and   that    those   same documents              could      be used to obtain a TX ID
     5
                     Inquiry                  1   Card with proof of residency with a $16 fee and                              it   could   be used to vote and for any
                                                  other business            purposes         He decided        he    wanted to get her a TX ID Card instead                             of an

                                                  EIC No TX           ID   was      issued   due     to the   fact     that the     customer       did    not   have    all   of the

                                                  documentation to issued                  the    TX ID They         will   go back    at   a   later    date   when       they   do have
                                                  the   documents           for   the   TX ID


                    Issuance                  0
     6A
                     Inquiry                  0


                    Issuance                  0
     6B
                     Inquiry                  0


 Total    EICs Issued    Today                0


 Total    EIC Inquiries Today                 1



 Total    EICs Issued    to    Date           0

 Total    EIC Inquiries to Date           21




vr




Customer Operations Senior Manager                  South       and West

Driver License      Division

Texas     Department of Public        Safety

tony rodriguezcr•dpstexasgov
5124245657          0
5127399709          C
5124245233          F
The      Driver   License     Division   is   committed to quality and excellence                      in   customer service                Please        share your thoughts

with     us via our online customer service survey at httpwwwsurveyutexasedutxdps




                                                                                                                                                                                         TEX0507875
